Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 1 of 34




                                    Basics of Seat
                                    Belts Training
                                    David Prentkowski
                                    Autoliv -ATC
                                    Sr. Principal Engineer — Seat Belt Engineering
                                    Oct 2018


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                                                                           EXHIBIT

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                                         Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 2 of 34


Basics of Seat Belts
    Agenda

    • Primarily from a seat belts perspective (approx. 2 hrs. 15 minutes)

    • What is an occupant restraint system?

    • "Understanding Car Crashes" - IIHS Video
    • "Understanding Car Crashes, When Physics Meets Biology" — IIHS Video

    • Seat belt components in a system — overview

    • What happens when?

    • Basic Regulatory requirements for FMVSS 208/209 and ECE R16

    • NCAP - New Car Assessment Program

    • Product training ( contact Core SB Product Eng. Mgrs. For training on
      separate modules for retractors, buckles, height adjusters, etc.) is NOT a
      part of this training.



Basics of Seat Belts Training - January 2013 - Rev. B Page 2
                                         Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 3 of 34


Basics of Seat Belts
     What is an "occupant restraint system"?

     Seat belts and air bags, right?

     Seat belts and air bags are major components of a vehicle
     manufacturer's overall occupant protection strategy.

     Vehicle manufacturers define the overall occupant protection
     philosophy and strategy for their vehicles as well as the hardware
     needed to implement that protection strategy.

     An "occupant restraint system" includes the vehicle body
     structure and deformation/energy absorption characteristics,
     seats, steering wheel, steering column, seat belts, seat belt
     anchorages, airbags, crash sensors and restraint system control
     module/program, as well as others.


Basics of Seat Belts Training - January 2013 - Rev. B Page 3
                                         Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 4 of 34


Basics of Seat Belts

     • "Understanding Car Crashes"
     • Insurance Institute for Highway Safety Video

                            Show IIHS Video (approx. 22 minutes)

    The physics of car crashes.
    Basic equations of motion and their application....
    Momentum
           Energy
                 Work
                        Impulse

    Older video and vehicles, but all principles still apply to
    current vehicles and restraint systems.


Basics of Seat Belts Training - January 2013 - Rev. B Page 4
                                        Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 5 of 34




Basics of Seat Belts Training - January 2013 - Rev. B Page 5
                                        Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 6 of 34


Basics of Seat Belts

     • "Understanding Car Crashes, When Physics Meets
       Biology"
     • Insurance Institute for Highway Safety Video

                            Show IIHS Video (approx. 24 minutes)

    The physics of car crashes and the effects on occupants in
    the vehicle during a crash.
    Relating actual crash tests to sled/simulation tests.
    Basic anatomy of human body. Test dummies.
    How body is affected by crash forces. 3 collisions.
    How restraint systems mitigate injury.

    Approx. 10 years newer than first video, but still older
    vehicles. All principles still apply.


Basics of Seat Belts Training - January 2013 - Rev. B Page 6
                                        Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 7 of 34




Basics of Seat Belts Training - January 2013 - Rev. B Page 7
Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 8 of 34




                                     Seat Belt System
                                     Components
                                     Overview



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                                           Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 9 of 34



 Typical Example -3 Point Seat Belt
 Pillar Loop / D-ring /
     Turning loop /                                                          i'/                           Midguide
 Hanger! Guide loop
                                       ,                                                                  Snap-in version
                                                                                                          (non-handed) -
                      \                                                                                     sometimes
                                                                                                             included,
 Different suppliers and Customers
                                                                                                          sometimes not
 may use different names for these
 same components!


                     Free Falling                                                                        Webbing
                       Tongue/                                                                            Standard
                                                                                                       webbing, typically
                    Latchplate/Tip/                                                                     about 3.2m in
                  ,   Connector                                                                            system




                                                                   -
                             PLP Anchor
                                Plate   ,
                              Connector                                                                     Retractor
                                                                                                           ELRALR ret'r on
                                                                                                           passenger side.
                                                                                                             Upper stay
                                                                                                               bracket




                                                               Sample pictures for reference only
Basics of Seat Belts Training - January 2013 - Rev. B Page 9
                                       Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 10 of 34



 Typical Example - Front Buckles, PLPs, & HAs



           FMP20 Pillar
                                                                                                        OUP
                                                                                                        K12A Buckle
                                                                                                                         I




              loop
                                                                                CLT - Crash
                                                                               LockingTongue




                                                         ====f




                                                   Web mount
                                                    Buckle                                                    Height
       Buckle ass'y -                                                                                        Adjuster
                                                                                    PLP - pyrotechnic
         on cable                                                                                             (HA60
                                                                                     lap pretensioner
          mount                                                                                              shown)
              w/ Switch                                                                                      2 Bolt design
                                                                 Sample pictures for reference only
Basics of Seat Belts Training - January 2013 - Rev. B Page 10
Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 11 of 34




                                     What Happens
                                     When?



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                                                           Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 12 of 34
                                                                        Frontal Impact: VVfkt happens when?
                                                            I               I   I
                                                           Begin of crash                                                                                                                    Frontal impact: What happens when?

                             Time in nis-4..                   2    3   4   5   6   7   8    10   1   12   13   14   15    18   1   18   19
                                                                                                                                              , 12421
                                                                                                                                              20         3535   2   25   26   27   28   29         31   32   33   35            37   38       39    40   41   42   43   45      47   4        49
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                                                                                                                                                                                                                                                                                                   50   51   52       53   54




                      Retractor VS II
                                 I
                      Pretensioner
                                 I
                   li Load Limiter                                                                                                                                                  ad Limiter                         I.                                ipsP stion
                   1

                   .11                                                                                                                                                   '    reparation time
                                                                                                                                                                                                                                                                                               111111
          . :1 Driver airbag
                                                                                                                                                    IIiIIIIHMIIIIIIIIiIIIIII
               •         Pass. airbag


                         ECU algorithm

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                         Occupant                \ --%/671ip_,                          ,,                                                                                                   _--                            -                      '-:24.-- ,
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                                                   o                                                                                                                                                                                      ,                ,,,,,,
                         kinematics                                                                                       ii                       \or
                                                                                                                                                                                                                                                             *" --                                           i
[ASS -PDS, TV/svr] [05.09.1997] [poster01.wk4]
                I



                   This example is generic.                                         The "blink of an eye" averages 200rnsec-300msec in length.

          Basics of Seat Belts Training - January 2013- Rev. B Page 12
Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 13 of 34




                                     How Can Seat
                                     Belts Influence
                                     FMVSS 208 and
                                     NCAP Ratings?



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                                       Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 14 of 34



  Seat Belt / Air Bag System Interface




      o                                                               ci
     -     A higher NCAP rating is achieved by lowering peak "g's" (HIC and chest "g").
     -     Load limiters are used to reduce peak "g's" on the occupant.
     -     Pretensioners are used to eliminate slack so occupant starts using energy
           management devices in the system as soon as possible in the crash event.
     -     Crash Lock Tongues (CLT) help to control upper torso loading and potentially
           reduce chest deflection.

Basics of Seat Belts Training - January 2013 - Rev. B Page 14
                                       Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 15 of 34



  Seat Belt                                  Terms and Pretensioner Locations

                                                                   Ht.Adj/Pillar loop
                                                                                           Pretensioners (P)
                                                                                           can be located at the
                                                                                           retractor, the buckle,
          Shoulder Belt/
                                                                                           the lap belt anchor
          Upper Torso                                                                      or any combination
                                                                                           of these

  Lap/pelvic belt




        Tongue *—                                                                7   Retractor (P)

    Buckle (P)


                                                                                Lap belt anchor (P)
                     Driver's seating position — looking from front to rear


Basics of Seat Belts Training - January 2013- Rev. B Page 15
                                       Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 16 of 34




  Pretensioner

  • Reduce the slack in real world (approximately 75mm - 110 mm)

  • Closer and earlier coupling of the occupant to the car
    which provides earlier connection to energy management of the
    vehicle structure and restraint system devices.

  • Provide better occupant position for interface with airbag
    (offset collision with vehicle rotation)

  • Reduce probability of submarining
    (dependent on seat cushion structure, not all seats are the same)




Basics of Seat Belts Training - January 2013- Rev. B Page 16
                                        Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 17 of 34


What kind of pretensioners are available?

  Retractor




  Lap/Anchor
                                                                                                              Buckle




Basics of Seat Belts Training - January 2013 - Rev. B Page 17
Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 18 of 34
                                                  Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 19 of 34
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                                       Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 20 of 34




                 Load Limiter Function Simulation




Basics of Seat Belts Training - January 2013 - Rev. B Page 20
                                       Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 21 of 34



      PLP / PBP                                                 An external controller transmits an electrical
      principle of operation                                    signal to the initiator device of the MGG in the
                                                                pretensioner. This MGG ignition starts a
                                                                chemical reaction which generates a gas

                                                   /            which pushes the piston/wire unit forwards.
                                                                This movement introduces a tension on the
                                                                seat belt strap and thus reduces the slack in
                                                                the belt.

                                                                A lap belt PT (PLP) typically has more effect on
                                                                the lap portion of the seat belt.

                                                                A buckle PT (PBP) typically has an effect on
                                                                both the lap and upper torso segments of the
                                                                SB ass'y.




Basics of Seat Belts Training - January 2013 - Rev. B Page 21
                                       Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 22 of 34


PLP / PBP
Locking principle

                                                               Locking system:
                                                           To avoid back-travel, the
                                                           device is locked using a
                                                            ball and conus locking
                                                                                                     Locking balls riding in
                                                                     clutch                          small gap space during
                                                                                                     jamming and locking
                   Occupant belt force
                                                                Occupa t belt force      Locking balls
                                                                                                             Piston


  Pretensioner pull                            MGG
  force




                                                                                                   Piston movement
                                         Locking balls riding in large gap
                                         space during pretensioning
Basics of Seat Belts Training - January 2013 - Rev. B Page 22
                                       Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 23 of 34


PBP
Deployment




                                            o
Basics of Seat Belts Training - January 2013- Rev. B Page 23
Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 24 of 34




                                    A Basic Overview
                                    and Introduction to
                                    FMVSS3 ECE R16
                                    and NCAP
                                    Requirements for
                                    Seat Belts
                                      Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 25 of 34



                                                                Overview

    Federal Motor Vehicle Safety Standards (FMVSS) are managed by the
    National Highway Traffic Safety Administration (NHTSA), which is a
    part of the Department of Transportation (DOT). They are published
    annually by the Government Printing Office (GPO) in the Code of
    Federal Regulations (CFR). Activity on all FMVSS requirements is
    published in the daily Federal Register (FR) when activity occurs.
    FMVSS requirements apply only to vehicles sold in the United States
    of America.

    Canadian MVSS closely follows (and is almost identical ) to US FMVSS
    requirements. Technical Standards Document (TSD) — 209 is basically
    a copy of FMVSS209.

   ECE UN R16 requirements affect the Economic Commission for
   Europe (ECE) and is managed by the United Nations and the Inland
   Transport Committee. ECE UN R16 requirements apply to all vehicles
   to be sold in Europe.

Basics of Seat Belts Training - January 2013 - Rev. B Page 25
                                      Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 26 of 34



                                                     Overview - cont'd

   For Rest Of World (ROW) seat belt requirements, FOE R16 is used
   where no standard exists. Most countries that have specific seat belt
   regulations base them on FOE R16.

   The New Car Assessment Program (NCAP) was initiated by the USA
   National Highway Traffic Safety Administration (NHTSA) in 1978 as a
   means for providing Consumers a simple way to compare the relative
   safety of vehicles in frontal crashes. Star ratings (1-5, 1 =worst,
   5=best) are awarded and reported.

   NCAP programs now exist in most major regions of the world. NCAP
   programs include USNCAP, EuroNCAP, JapanNCAP, AustraliaNCAP,
   KoreaNCAP, ChinaNCAP, LatinNCAP as well as others.




Basics of Seat Belts Training - January 2013 - Rev. B Page 26
                                      Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 27 of 34




              FMVSS 201/208/209/210/302/ NCAP and
                  ECE UN R16 for Seat Belts
         •      FMVSS201 defines requirements for occupant protection in
                interior impact (head impact on pillars, height adjusters, D-rings,
                etc.) Demonstration of compliance to this requirement is the
                responsibility of the vehicle manufacturer, but component
                suppliers must work closely with vehicle manufacturers to insure
                compliance.
         •      FMVSS 208 defines occupant restraint requirements and some
                 vehicle level requirements for seat belt systems.
                Demonstration of compliance is the responsibility of the vehicle
                manufacturer. There are some seat belt requirements in 208 so
                suppliers need to work closely with vehicle manufacturers.
         •      FMVSS 209 are the component level seat belt requirements.
                Demonstration of compliance is the responsibility of the seat belt
                supplier.
         •      The test procedures for FMVSS 209 are defined in TP-209.

Basics of Seat Belts Training - January 2013 - Rev. B Page 27
                                      Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 28 of 34




             FMVSS 201/208/209/210/302/ECE R16 and
                     NCAP for Seat Belts
         •     FMVSS 210 governs where the seat belts are mounted in the
               vehicle and how strong the vehicle anchorages must be.
               Demonstration of compliance is the responsibility of the vehicle
               manufacturer. Pillar loop height adjusters are considered part of
               the anchorage so suppliers must work closely with vehicle
               manufacturers.
         •     FMVSS 302 defines the flammability requirements for materials
               used in vehicle interiors. Demonstration of compliance for items
               like webbing need to be supplied by the seat belt supplier to the
               vehicle manufacturer.
         •       New Car Assessment Program (NCAP) is NOT a regulatory
               requirement but is a Customer and Market expectation. NCAP
               ratings are required by law to be on new vehicle sales window
               stickers in the United States.



Basics of Seat Belts Training - January 2013- Rev. B Page 28
                                      Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 29 of 34




        ECE UN R16 Seat Belt Requirements
      ECE UN R16 is a combined seat belt system and seat belt component level
      requirement.

      Testing includes, corrosion, dust, temperature, cycling, accelerated lock and
      other functional requirements for retractors, buckles, tongues, anchors, pillar
      loops, bolts, webbing and other seat belt components and assemblies.

      ECE UN R16 includes demonstration of ongoing compliance by way of
      Conformity Of Production (COP) testing, which requires use of conditioned
      production parts in a dynamic test.

      ECE UN R16 has specific labeling requirements that must be strictly adhered
      to.

      ECE UN R16 requires a third party "type approval" and certification for new
      assemblies and "extensions" (test/evaluation/approval) for significant changes.


Basics of Seat Belts Training - January 2013- Rev. B Page 29
                                      Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 30 of 34




    FMVSS208 vs. ECE UN R16 Seat Belt Req'ts
     FMVSS 208 is a vehicle system level dynamic test for the occupant restraint
     system. It is an occupant injury criteria based system with measurements
     taken for Head Injury Criteria (HIC), Neck Injury Criteria (Nij), Femur loads,
     Chest deflection, etc.)

     ECE UN R16 is mix of seat belt requirements and a dynamic test requirement.
     The dynamic test requirement is an occupant excursion based criteria system
     and not occupant injury numbers/calculation type system like FMVSS208.
     ECE UN R16 uses a dynamic test to evaluate the amount of occupant forward
     excursion measured at the chest (300mm max.) and at the hip point (200mm
     max.).

     FMVSS208 (all FMVSS) are self-certified by the manufacturer.

     ECE UN R16 requires a type approval process by way of a third party test
     house. If all parts meet requirements, then a type approval number is issued
     and must show up on seat belt part labels according to the regulatory
     requirement.
Basics of Seat Belts Training - January 2013 - Rev. B Page 30
                                      Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 31 of 34




               New Car Assessment Program (NCAP)
      The NCAP system is a simple way to rate a vehicle's ability to protect an
      occupant during a crash event. This is determined through a calculation of
      test dummy results during an actual vehicle crash test at 35mph to a standard
      crash test profile/setup. (FMVSS 208 is 30mph)
      The test result output is a "star" rating of 1 - 5 stars, 5 star being the best
      rating.
      NCAP is not a regulatory requirement in any market although NCAP ratings
      are required to be included in new vehicle sales window stickers so the public
      can quickly see and determine that vehicles ability to protect an occupant
      during a crash.
      ALL OEM Customers MUST meet FMVSS208 & ECE R16 requirements
      (depending on market) with a very strong focus on being able to achieve and
      report a 5 star NCAP rating in the vehicle sales market.
      5 star NCAP rating is a significant marketing tool for the OEM.
      Even though not a regulatory requirement, NCAP is managed and reported by
      the Governmental Regulatory Agencies (NHTSA in USA).
      NCAP exists in all major regions/markets (USNCAP, EuroNCAP, JNCAP,
      Latin NCAP, etc.)

Basics of Seat Belts Training - January 2013 - Rev. B Page 31
                                       Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 32 of 34



        NCAP and Belt System Contributions to Performance
    The New Car Assessment Program (NCAP) was initiated by the National
    Highway Traffic Safety Administration (NHTSA) in 1978 as a means for
    providing Consumers a simple way to compare the relative safety of
    vehicles in frontal crashes.
    Injury Risk Curve information(star ratings) is a resultant calculation of a
    measure of force of impact to a test dummy.
    The higher the star rating, the less likelihood of serious injury.
    • 5 star = 10% or less chance of serious injury
    • 4 star = 11%-20% chance of serious injury
    • 3 star = 21%-35% chance of serious injury
    • 2 star = 36%-45% chance of serious injury
    • 1 star = 46% or greater chance of serious injury
    Star ratings are a result of total system performance which include
    vehicle performance, Seat Belts and interaction of the occupant with
    airbags and other devices in the vehicle.

Basics of Seat Belts Training - January 2013 - Rev. B Page 32
                                         Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 33 of 34


   New Car Assessment Program - NCAP
          Latin NCAP Example — Baseline Testing Before Latin NCAP Existed




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Basics of Seat Belts Training - January 2013 - Rev. B Page 33
                                        Case 1:14-cv-03432-SCJ Document 620-36 Filed 12/19/22 Page 34 of 34



                                                     Basics of Seat Belts - Training




                                                                The End

                        Thank You for Your Attention!

                                                   Any Questions?

        I appreciate receiving feedback and comments on
           this training as well as suggestions on how to
                  improve it. Please contact me at
                   david.prentkowski@autoliv.com

Basics of Seat Belts Training - January 2013 - Rev. B Page 34
